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 Attorneys for Defendants Race Winning Brands,
 Inc., and Manley Performance Products, Inc.


 DANIEL TELLER                                         UNITED STATES DISTRICT COURT
                                                       FOR THE DISTRICT OF NEW JERSEY
     Plaintiff,                                        CIVIL ACTION NO.

                           v.                                           CIVIL ACTION

 RACE WINNING BRANDS, INC., individually                           NOTICE OF REMOVAL
 and d/b/a MANLEY, and MANLEY
 PERFORMANCE PRODUCTS, INC.

     Defendants


       Defendants Race Winning Brands, Inc. d/b/a Manley and Manley Performance Products,

Inc. hereby files this Notice of Removal of the above-captioned action to the United States District

Court for the District of New Jersey, from the SUPERIOR COURT OF NEW JERSEY, OCEAN

COUNTY, where the action is now pending, as provided by Title 28, United States Code, Chapter

89, and state:

       1.         On August 3, 2021, a Complaint was filed in the SUPERIOR COURT OF NEW

JERSEY, OCEAN COUNTY. The caption, entitled “Teller v. Race Winning Brands, Inc.” was

assigned Docket No. OCN-L-1989-21 (hereinafter “State Court Action”).

       2.         Defendants received a copy of the Complaint setting forth the claim for relief upon

which the action is based on or about August 5, 2021. Plaintiff is claiming discrimination, in

violation of the New Jersey Law Against Discrimination, N.J.S.A. 10:5-1 et seq. Attached hereto
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as Exhibit A are copies of all process, pleadings and orders served upon Defendants in the State

Court Action, pursuant to 28 U.S.C. § 1446(a).

       3.      This Notice of Removal is filed within thirty (30) days of receipt by Defendant of

the Complaint in the State Court Action. Thus, this Notice of Removal is filed in a timely manner

as required by 28 U.S.C. § 1446(b).

       4.      The State Court Action is a civil action of which the District Courts of the United

States have original jurisdiction for the reason that there exists complete diversity of the parties

under 28 U.S. § 1332. In support of such, defendants state as follows: Upon information and belief,

plaintiff Teller is a resident of New Jersey. Defendant Race Winning Brands, Inc., is a corporation,

duly incorporated under the laws of Delaware with its principal place of business in Ohio.

Defendant Manley Performance Products, Inc. is a corporation, duly incorporated under the laws

of Delaware with its principal place of business in Ohio. Plaintiff further alleges he has suffered

damages. Attorney’s fees and costs are recoverable under the statute. Based upon counsel’s

experience with claims of this nature and for the types of damages sought herein, the claimed

damages in this action exceed $75,000.

       4.      This Notice of Removal is being filed in the District of New Jersey, the District

Court of the United States for the district and division within which the State Court Action is

pending, as required by 28 U.S.C. §§ 1446(a) and 1441(a).

       5.      Attached hereto as Exhibit B is a copy of the Notice to Clerk of Superior Court of

Filing of Notice of Removal, the original of which is being filed with the SUPERIOR COURT OF

NEW JERSEY, OCEAN COUNTY as required by 28 U.S.C. § 1446(d).

       WHEREFORE, Defendants respectfully request that this action proceed in this Court as an

action properly removed to it.




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                                   KIRMSER, LAMASTRA, CUNNINGHAM &
                                   SKINNER
                                   Attorneys for Defendants Race Winning Brands,
                                   Inc., and Manley Performance Products, Inc.


                                   By:
                                         Ellen M. Boyle
Dated: September 3, 2021




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